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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 NOVARTIS PHARMA AG, NOVARTIS
 PHARMACEUTICALS CORPORATION, and
 NOVARTIS TECHNOLOGY LLC,
                                                     Civil Action No. 1:20-cv-00690 (DNH-
                Plaintiffs,
                                                     CFH)
        v.

 REGENERON PHARMACEUTICALS, INC.,

                Defendant.


     STIPULATION AND [PROPOSED] ORDER MODIFYING CASE SCHEDULE

       WHEREAS, Plaintiffs Novartis Pharma AG, Novartis Technology LLC, and Novartis

Pharmaceuticals     Corporation    (collectively,   “Plaintiffs”)   and   Defendant     Regeneron

Pharmaceuticals, Inc. (“Defendant”) (Plaintiffs and Defendant, collectively, “Parties”) have been

engaged in discovery in the above-captioned action,

       WHEREAS, Plaintiffs’ damages expert report served on July 7, 2022 relied on several

third-party license agreements;

       WHEREAS, the Parties have met and conferred and agreed to seek an extension of

deadlines for discovery for purposes of accommodating targeted third-party discovery concerning

these agreements;

       IT IS NOW, THEREFORE, HEREBY STIPULATED AND AGREED, by and between

the Parties, through their undersigned attorneys and subject to the Court’s approval, that:

       1.      The current case schedule (NDNY ECF No. 125) is hereby modified as follows:
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            EVENT                CURRENT DATE                     AMENDED DATE

 Deadline for completion of              N/A                       October 14, 2022
 third-party discovery
 concerning license
 agreements to be completed
 as expeditiously as possible

 Plaintiffs’ Supplemental                N/A                       October 21, 2022
 Expert Reports Limited to
 third-party discovery
 concerning license
 agreements (if any)

 Responsive Expert Reports         August 4, 2022                 November 8, 2022

 Close of Discovery                August 19, 2022                 December 2, 2022

 Opening Dispositive              September 1, 2022               December 16, 2022
 Motions

 Responses to Dispositive        September 21, 2022                January 10, 2023
 Motions

 Replies to Dispositive          September 29, 2022                January 20, 2023
 Motions



       2.      Regeneron expects to serve third party subpoenas by July 29, 2022 and the parties

will meet and confer should Regeneron seek to serve further subpoenas.

       3.      If third party discovery is completed in advance of October 14, 2022, the parties

will meet and confer regarding acceleration of subsequent dates in the schedule.

       4.      The above-modified dates do not affect the deadlines set forth in the Amended

Expert Discovery Schedule for Willful Infringement and Inequitable Conduct (D.I. 139).




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STIPULATED TO AND APPROVED BY:

Dated: July 27, 2022

/s/ Elizabeth Holland

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Novartis Pharmaceuticals Corp.



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Counsel for Defendant Regeneron
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                                     ORDER

IT IS SO ORDERED this ______ day of, ___________2022.

                                              __________________________________
                                                  Hon. Christian F. Hummel




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